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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 SONYA WINKLER,                                           )
                                                          )
         Plaintiff,                                       )
                                                          )
 v.                                                       ) Case No. 2:24-cv-00149-PPS-APR
                                                          )
 DAVID JOHN HARRIS, M.D., and                             )
 FRANCISCAN ALLIANCE, INC., et al.,                       )
                                                          )
         Defendants.                                      )


                 EMERGENCY SUPPLEMENT TO MOTION TO REMAND

       Plaintiff Sonya Winkler filed what she styled a “Notice of Removal,” which the Court file-

marked April 26, 2024, and entered on the docket on April 30, 2024. [Doc 1.] On May 2, 2024,

Defendant Franciscan Alliance, Inc. (“Franciscan”) moved to remand this case back to the Indiana

Court of Appeals where it is currently pending under Case No. 23A-CT-1091. [Doc. 4.] Franciscan

expressed concern with Winkler’s improper removal of this case to federal court when the matter

was fully briefed on appeal and a decision from the Indiana Court of Appeals was imminent.

Franciscan was particularly concerned that Winkler’s fundamentally improper removal of the state

court action would create a procedural quagmire in which the Indiana Court of Appeals may issue

a decision that could be subject to collateral attack due to jurisdictional concerns.

       Franciscan now files this Emergency Supplement to Motion to Remand to advise the Court

that its concern has come to fruition as the Indiana Court of Appeals handed down its

Memorandum Decision earlier today. A copy of the Indiana Court of Appeals’ decision is attached

hereto as Exhibit A. The Indiana Court of Appeals also issued an Order Granting Motion to Strike,

a copy of which is attached hereto as Exhibit B.
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       As of the instant filing, the Indiana Court of Appeals’ docket does not reflect receipt of

Winkler’s alleged Notice of Removal. Given the unique procedural posture of this case, and in

light of this latest development, Franciscan respectfully asks the Court to rule on its Motion to

Remand as soon as possible.

                                     Respectfully submitted,


                                     /s/ Libby Yin Goodknight
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the forgoing was also served on the following
individual by U.S. Mail, postage prepaid, this 3rd day of May, 2024:

       Sonya Winkler
       3826 170th Street
       Hammond, Indiana 46323



                                           /s/ Libby Yin Goodknight
                                           Libby Yin Goodknight




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